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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO. 1:05cr36 SPM

PATRICK JACKSON
_____________________________/


                         JUDGMENT OF ACQUITTAL

        The Defendant was found not guilty as to Count 1 of the Indictment.

        IT IS ORDERED that the Defendant is acquitted and discharged as to Count 1.

        DONE AND ORDERED this 4th day of October, 2007.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
